               THE SUPREME COURT of OHIO
                     CERTIFICATE OF GOOD STANDING



      I, MICHEL JENDRETZKY, Director of the Attorney Services Division of the
Supreme Court of Ohio, do hereby certify that I am the custodian of the records of
the Office of Attorney Services of the Supreme Court and that the Attorney Services
Division is responsible for reviewing Court records to determine the status of Ohio
attorneys. I further certify that, having fulfilled all of the requirements for admission
to the practice of law in Ohio,


                               Ari Nicholas Rothman
                         Attorney Registration No. 0075187


was admitted to the practice of law in Ohio on November 18, 2002; is in good
standing with the Supreme Court of Ohio; but has registered as an inactive attorney
pursuant to the Supreme Court Rules for the Government of the Bar of Ohio and,
therefore, is not currently entitled to practice law in this state. An attorney may
request a change of status from inactive to active by filing a new certificate of
registration and paying the registration fee.


                                        IN TESTIMONY WHEREOF, I have
                                        subscribed my name and affixed the seal of
                                        the Supreme Court, this 3rd day of March,
                                        2025.


                                        MICHEL JENDRETZKY
                                        Director, Attorney Services Division




                                        _______________________________________
                                        Kirstyn Moyers, Attorney Services Manager
                                        Office of Attorney Services



*0075187*
No. 2025-03-03-1
Verify by email at GoodStandingRequests@sc.ohio.gov
